                    Gilbert, Joel </O=BALCH/OU=FIRST ADMINISTRATIVE
  From:
                    GROUP/CN=RECIPIENTS/CN=JGILBERT>
  Sent:             Thursday, April 14,20169:06 AM
  To:               'David Roberson' <droberson@drummondco.com>;
                    'mikethompson@thompsontractor.com'; 'Van Richey (vrichey@american-usa.com)';
                    'Godfrey, Mike (Environmental)' <JGODFREY@southernco.com>; Susan Comensky
                    <SCOMENSK@southernco.com>
  Subject:          AJE Update on Community Outreach / EPA Tarrant Activities / Etc. (Attorney Client
                    Communication / Privileged & Confidential)
  Attach:           Final results.pdf; EPA March 30 Letter to City.pdf; Tarrant March 31 Letter.pdf; Strada
                    map.pdf; GASP UAB Superfund research emai1.pdf; Clean-Air-Tnitiative-Brochure-
                    FINAL. pdf; Shelby Sessions Palmer Letter to EPApdf; EPA Response to Federal
                    Delegation Letter.pdf


  Attorney Client Communication I Privileged & Confidential

  I apologize in advance for the length of this email. Although it has been less than a month since my last update on
  March 22 nd , there has been a lot going on I wanted to make sure everyone was up-to-date on community outreach /
  EPA activities / other developments.

  Community Outreach Activities

  Get Smart and the local NAACP have met with numerous pastors in Tarrant within the last several weeks. In particular,
  two churches, Rushing Springs Baptist Church and Lily Baptist Church, are helping these groups reach out to other
  churches in the area and are very supportive of Get Smart. Rushing Springs held a church leadership meeting for the
  churches in the area so that Get Smart could give a presentation on EPA activities and their impact to Tarrant and
  Inglenook. At that meeting, Get Smart provided the pastors with information to hand out to their members. In addition,
  Rushing Springs requested 100 Get Smart flyers (and made additional copies on their own) to hand out during their
  weekly ministry activities in the Tarrant/Inglenook communities.

  In addition, Get Smart was invited by the City to the Tarrant Easter Egg hu nt on March 26th to hand out Get Smart
  information. Tarrant residents were very receptive of Get Smart and consistently stated that they did not support the
  EPA investigation.

  The NAACP has been working diligently in the Inglenook community and has been attending various neighborhood
  meetings. In addition, the NAACP also attended Inglenook Neighborhood Association's Community Day on March 26th
  to hand out Get Smart information and speak with those in the community about EPA's investigation and what it could
  mean for the Inglenook neighborhood.

  Over the past several weeks, Get Smart has been following up the Tarrant residents that answered the earlier
  questionnaires to obtain affidavits documenting their experience with EPA during the sampling of their properties. Get
  Smart has collected approximately 17 affidavits. Get Smart plans to provide several of the affidavits to local and state
  representatives in the near future for their use.

  Finally, Get Smart has been going door-to-door throughout the area targeted for Phase II sampling by EPA to update
  them on some of the tactics EPA used in obtaining access to the resident's yards during the Phase I sampling as well as
  re-educating them on why EPA is in the area and the impacts EPA's actions could potentially have on their neighborhood
  and the City of Tarrant.

  City of Tarrant / EPA Investigation




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  There have been several developments with regard to EPA's investigation of Tarrant since my last update.


  On March 30 th , EPA responded to Mayor Tuck's February 29th letter which provided the City of Tarrant's concerns with
  EPA's SAP/QAPP (see attached "EPA March 30 Letter to City") and the results of the Phase I sampling (see attached
  "Final results"). Per the sampling report, all sample results are below EPA removal management levels (RML).
  Obviously, this is a very good outcome. However, of note, EPA did not include the background sampling results taken in
  Norwood and Kingston that EPA intended to use to compare the Tarrant samples. As such, while the Phase I results
  show they are below the respective RMLs and are encouraging, we do not know how the Phase I samples compare to
  the samples EPA took to allegedly establish background levels.

  The City of Tarrant responded on March 31st to EPA's letter requesting the background sampling data and providing
  that if EPA intends to move forward with the South Tarrant investigation, then the City would like to meet to understand
  EPA's proposed next steps but only after it has had time to review the background sampling data to ensure the City has
  a complete picture of all the data EPA is using to determine further investigation is necessary (see attached "Tarrant
  March 31 st Letter"). EPA has not responded to the City's latest correspondence; however, in the last few days, we have
  been told from various sources in contact with EPA that EPA intends to begin sampling of the Phase II area within the
  next few weeks. In addition, it is also our understanding that the results of the samples taken in Norwood and Kingston
  by EPA to allegedly establish background for the Tarrant investigation came back very high and EPA is now going to use
  these results to begin investigating these areas for inclusion in the North Birmingham Superfund Site. While we do not
  have confirmation of this information, the fact EPA has not provided the City of Tarrant with the sampling results of
  these areas, seems to support this probability. For your benefit, I have attached a STRADA map providing the original
  Robinwood background study area, the Gasp Petition area currently under investigation by EPA, as well as the Norwood
  and Kingston neighborhoods recently sampled by EPA.

  UAB Establishment of a Superfund Research Center

  In the course of reviewing various documents provided by EPA related to the North Birmingham Superfund site, we
  discovered a recent string of emails (January 2016) wherein GASP notified EPA that the UAB School of Medicine is in the
  process of establishing a Superfund Research Center to perform research to specifically address the challenges /issues
  facing the residents in North Birmingham and surrounding areas. Specifically, the email provides that Dr. Veena Antony,
  a pulmonologist in the Division of Pulmonary, Allergy & Critical Care Medicine at UAB, will be heading up the research
  center. Additionally, the email provides that Dr. Antony is applying for a 2016 NIEHS grant for the center and asks for
  EPA's support of this grant request. (see attached "GASP UAB Superfund research email").

  Out of curiosity, I did a little research to see what would come up when I searched for Dr. Antony and discovered the
  following:

  Per an al.com article (http://blog.al.com/spotnews/2012/05/uabinitiativeseekscleanair.html),in 2012, UAB
  announced that it was launching a Clean Air Initiative wherein it would be joining forces with a coalition of local groups
  to address air quality in the Birmingham metro area. The Initiatives goal was to identify and address pollution-related
  health problems of people living near smokestacks and in heavily industrialized areas. Specifically, the initiative would
  be studying the effects of air pollution by taking breath samples of people who live in Birmingham communities close to
  sources of pollution.

  Of note, the article infers that Dr. Antony was specifically recruited to UAB to head up this initiative as well as perform
  research at the local level related to the health impacts associated with the inhalation of coal dust. In addition, the
  article noted that the "coalition of groups" working with UAB in this initiative included GASP, the American Lung
  Association and the Southern Environmental Law Center (SELC). The article goes on to provide that the Clean Air
  Initiative was being made possible through a $100,000 seed grant from Dell and F. Dixon Brooke Jr., and matching
  money from the UAB School of Medicine. The article concludes by providing that the Initiative was planning a day-long
  symposium on September 21, 2012, on air quality in Birmingham and its effects. I have attached a copy of the agenda
  for the symposium (see attached "Clean Air Initiative Brochure"). Per the agenda, Kirsten Bryant (GASP) was a panel
  member and speaker, as well as, Dr. Michelle Fanucchi (Associate Professor and Interim Chair, UAB Department of




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  Environmental Health Sciences, School of Public Health), who has been working with GASP on the North Birmingham
  matter. The materials from the symposium were posted on the internet but are no longer available.

  Federal Delegation Activities


  Since March nnd, we have had a couple of meetings with Representative Palmer and his staff concerning EPA activities
  in Tarrant. Based on these meetings, Rep. Palmer is planning to provide a short presentation to the Congressional
  Oversight Committee in June (with EPA in attendance) concerning EPA's activities in Tarrant. The presentation will be
  primarily made up of video interviews with various Tarrant residents, the Mayor of Tarrant and the Superintendent of
  Tarrant City Schools describing EPA's questionable activities and statements during EPA's Phase I sampling. The
  information obtained from the affidavits Get Smart has gathered will be used as well. We are currently working with
  Rep. Palmer's office, the City of Tarrant and Get Smart to develop the information and materials Rep. Palmer has
  requested for this presentation.


  Finally, as you may remember, on February 26 th , Senators Shelby and Sessions and Representative Palmer sent a letter
  to EPA questioning EPA's activities in North Birmingham and their use of air deposition as a theory of CERCLA liability
  and requested a meeting to discuss these issues (see attached "Shelby Sessions Palmer Letter"). On March 26 th , EPA
  responded (see attached "EPA Response to Federal Delegation Letter"). While EPA did agreed to meet with them, not
  surprisingly, EPA failed to substantively address/answer any of the concerns raised in the letter. As you will see in EPA's
  response, of particular interest, is EPA claim "they cannot engage in any level of discussions with third parties, including
  members of Congress ... " concerning EPA's activities in North Birmingham. Also, noteworthy is that EPA cites "facility air
  emissions... [that] occurred prior to, in absence of or in exceedance of Clean Air Act permits." We are currently working
  with the Senators' and Rep. Palmer's office on an appropriate response.

  if you have any questions regarding any of the above, let me know. Thanks.

  Joel


  BALCH
  Joel!. Gilbert, Partner, Balch & Bingham LLP
  1901 Sixth Avenue North • Suite 1500 • Birmingham, AL 35203-4642
  t: (205) 226-8737 f:(205) 488-5824 e: jgilbert@balch.com
  www.balch.com




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       PAH (ug/kg)                                                                                                                                                                                                                   OJ
       1- Methyl na phtha lene             210 U              230 U               220 U                 220 U                    200 U          230 U          210 U          210 U          200 U
       2- Methyl na phtha lene             210 U              230 U               220 U                 220 U                    200 U          230 U          210 U          210 U          200 U
       Acenaphthene                        210 U              230 U               220 U                 220 U                     37 J          230 U          210 U          210 U          200 U
       Acenaphthylene                      210 U              230 U               220 U                 220 U                    200 U          230 U          210 U          210 U          200 U
       Anthracene                          210 U              230 U               220 U                  38 J                     79 J          230 U          210 U          210 U           93 J
       Benzo(a )anthracene                  59 J                72J                74 J                 150 J                    470             98 J            47 J          27J           570
       Benzo(a)pyrene                       63 J                78 J               82 J                 160 J                    570            110 J            47 J          32 J          470
       Benzo(b)fluoranthene                 81 J              140 J               150 J                 240 J                    980 J          210 J            78 J          53 J          700 J
       Benzo(g,h,i)perylene                 37 J                38 J               45 J                  79 J                    420             82 J          210 U          210 UJ         200
       Benzo(k)fluoranthene                 38 J                41 J                63 J                100 J                    290 J           97 J          210 U          210U           330 J
       Chrysene                             71J               100 J                98 J                 180 J                    530            140 J            53 J          39 J          570
       Dibe nz(a, h)a nthrace ne           210 U              230 U               220 U                 220 U                    140 J          230 U          210 U          210 U           88 J
       Fluoranthene                       100 J               130 J               150 J                 310                      920            170 J            81 J          56 J          890
       Fluorene                            210 U              230 U               220 U                 220 U                     33 J          230 U          210 U          210 U          200 U
       Indeno(l, 2,3-cd )pyrene             34 J                37 J               41 J                  80 J                    390             74 J          210 U          210 U          220
       Naphthalene                         210 U              230 U               220 U                 220 U                     48 J          230 U          210 U          210 U          200 U
       Phenanthrene                         54 J                71J                76 J                 190 J                    480             89 J            42 J          23 J          350
       Pyrene                               88 J                98 J              100 J                 220                      710            140 J            70 J          40 J          730
       Benzo (a) Pyrene TEQ            186.49              219.31              220.11                 319.8                    902.2         265.57         176.58         156.94            716                    1,600
       Metals, Total (mg/kg)
       Arsenic                              19 J                17 J                13 J                 21 J                     16 J           16 J            29 J          22 J           19 J                   68
       Barium                             190 J               150 J               100                   300 J                    400 J          260 J          150 J           76 J           77J                46,000
       Cadmium                            0.53J                0.5 J             0.41 J                0.76                       1.1            1.3           0.54            0.3 J        0.28 J                  210
       Chromium                             72J                 27J                 27                   32 J                     38 J           39 J          240 J          110 J           19 J              350,000
       Lead                               130                 120                 100                   180                      140            320            120             62            110                    400
       Mercury                           0.096 J              0.14               0.15                  0.14                       0.1 J        0.47            0.15          0.08 J         0.15                     70
       5elenium                            3.5 J               2.6 J                 2J                  2.7 J                   2.3 J           2.1 J           4.2           3.1 J         0.7 J                1,200
       5ilver                              1.1 U               1.3 U               1.3 U                 1.1 U                  0.29 J        0.094 J         0.098 J          1.1 U         1.2 U                1,200
       Notes:
       TEQ-Toxic Equivalency Quotient-The EPA Uses weighting factors to summarize all Polycyclic Aromatic Hydrocarbon (PAH)

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       which is then expressed as the toxicity of Benzo(a) Pyrene. This is a conservative expression of the total toxicity of all detected
       ug/kg-micrograms per kilogram

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o;;0   U-Not Detected in sample
       RML- Removal Management Level. Values used by the EPA to determine where action may be necessary to
       protect human health and/or the environment.
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       PAH (ug/kg)
       1- Methyl na phtha lene             190 U              200 U               200 U                  80 J                    200 U          230 U          210 U          210 U          210 U
       2- Methyl na phtha lene             190 U              200 U               200 U                  78 J                    200 U          230 U          210 U           28 J          210 U
       Acenaphthene                        190 U              200 U               200 U                 260 U                    200 U          230 U          210 U          210 U          210 U
       Acenaphthylene                      190 U              200 U               200 U                 260 U                    200 U          230 U          210 U          210 U          210 U
       Anthracene                          190 U              200 U                 34 J                260 U                    200 U          230 U          210 U           45 J          210 U
       Benzo(a )anthracene                  39 J              130 J               150 J                 240 J                    120 J           54 J            58 J         470             70 J
       Benzo(a)pyrene                       34 J              140 J               150 J                 260                      140 J           51 J            75 J         320             86 J
       Benzo(b)fluoranthene                 47 J              210                 250 J                 450 J                    240 J          110 J          130 J          680 J          150 J
       Benzo(g,h,i)perylene                190 U                76 J                78 J                170 J                     79 J           35 J            45 J         180 J           55 J
       Benzo(k)fluoranthene                190 U                79 J              170 J                 220 J                    110 J           42 J            68 J         340 J          100 J
       Chrysene                             43 J              150 J               170 J                 320                      140 J           70 J            92 J         460            130 J
       Dibe nz(a, h)a nthrace ne           190 U              200 U               200 U                  62 J                    200 U          230 U          210 U           79 J          210 U
       Fluoranthene                         68 J              250                 330                   470                      240             94 J          110 J          710            260
       Fluorene                            190 U              200 U               200 U                 260 U                    200 U          230 U          210 U          210 U          210 U
       Indeno(l, 2,3-cd )pyrene            190 U                78 J                72J                 160 J                     74 J          230 U            40 J         210             53 J
       Naphthalene                         190 U              200 U               200 U                  50 J                    200 U          230 U          210 U           37 J          210 U
       Phenanthrene                         52 J              110 J               190 J                 260                      120 J           58 J            78 J         270            220
       Pyrene                               62 J              210                 230                   370 J                    200 J           77J             85 J         540 J          180 J
       Benzo (a) Pyrene TEQ            148.48              284.09               300.6                 412.4                    285.9         195.02           204.4           543          220.6                     1,600
       Metals, Total (mg/kg)
       Arsenic                              14 J                llJ                 llJ                  27J                      15 J           17 J            21 J          14 J           17 J                      68
       Barium                              150 J              160 J               170                   450 J                    110            220            440            190            250                    46,000
       Cadmium                            0.15 J              0.72                0.76                   1.7 J                    1.1          0.85             1.3            1.5          0.73                    210
       Chromium                             16 J                21 J                29                   24                       24             41              53            54             62                350,000
       Lead                                 26                140                 150                   310                      160            110            150            250            140                    400
       Mercury                           0.073 J              0.12                0.13                 0.35                     0.11 J         0.26            0.25          0.33          0.096 J                   70
       5elenium                            1.1 J               2.2 J               2.3 J                 1.9 J                    1.8 J         2.7 J           3.4 J          2.4 J         3.2 J                1,200
       5ilver                                1 U              0.12 J            0.089 J                  0.3 J                    1.1 U        0.73 J          0.19 J          0.1 J        0.98 U                1,200
       Notes:

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       TEQ-Toxic Equivalency Quotient-The EPA Uses weighting factors to summarize all Polycyclic Aromatic Hydrocarbon (PAH)
       which is then expressed as the toxicity of Benzo(a) Pyrene. This is a conservative expression of the total toxicity of all detected
o      ug/kg-micrograms per kilogram
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o;;0   J-sample analysis is acceptable, sample is estimated
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       RML- Removal Management Level. Values used by the EPA to determine where action may be necessary to
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       Matrix                          5urface 50il        5urface 50il         5urface 50il         5urface 50il         5urface 50il        5urface 50il     5urface 50il   5urface 50il   5urface 50il     Levels                    OJ
       Type                            Field 5ample        Field 5ample        Field 5ample         Field 5ample          Field 5ample       Field Duplicate   Field 5ample   Field 5ample   Field 5ample     (RML)
       PAH (ug/kg)
       1- Methyl na phtha lene             130 J               210 U              230 U                 210U                     220 U           220 U            240 U          210 U           33 J
       2- Methyl na phtha lene             120 J               210 U                34 J                210U                     220 U           220 U            240 U          210 U           33 J
       Acenaphthene                        230                 210 U              230 U                 210 U                    220 U           220 U            240 U          210 U          220 U
       Acenaphthylene                      220 U               210 U                32 J                210 U                    220 U           220 U            240 U          210 U          220 U
       Anthracene                         410                  210U                48 J                  51 J                     80 J             58 J           240 U          210 U           61 J
       Benzo(a )anthracene                820                   43 J              180 J                 170 J                    650             450                82 J         210 U          190 J
       Benzo(a)pyrene                      670                  56 J              170 J                 160 J                    670             510                91 J         210 U          180 J
       Benzo(b)fluoranthene              1100 J                 99 J              230 J                 250 J                   1200 J           830 J            160 J          210U           280
       Benzo(g,h,i)perylene                370                 210U                 69 J                 69 J                    420             260                49 J         210 U           78 J
       Benzo(k)fluoranthene               480 J                 47 J              120 J                 140 J                    480 J           410 J              82 J         210U           140 J
       Chrysene                           730                   80 J              190 J                 200 J                    710             490              100 J          210 U          220
       Dibe nz(a, h)a nthrace ne           110 J               210 U              230 U                 210U                     120 J             84 J           240 U          210 U          220 U
       Fluoranthene                      1600                  120 J              350                   360                     1600            1100              160 J          210U           360
       Fluorene                            200 J               210 U                37 J                210U                     220 U           220 U            240 U          210 U          220 U
       Indeno(l, 2,3-cd )pyrene            330                 210U                 78 J                 69 J                    400             240                51 J         210 U           79 J
       Naphthalene                         170 J               210 U               45 J                 210U                     220 U           220 U            240 U          210 U          220 U
       Phenanthrene                      1700                   65 J              270                   260                      650             470               62 J          210 U          220
       Pyrene                            1300 J                110 J              250 J                 300 J                   1200             840              130 J          210 U          280
       Benzo (a) Pyrene TEQ            1017.1              186.97               336.9                 317.3                   1026.9             755           242.12          243.6          348.5                    1,600
       Metals, Total (mg/kg)
       Arsenic                              15 J                 16 J               21 J                 6.4 J                    13 J             12 J            7.2 J          21 J           13 J                    68
       Barium                              170                  86                100                   220                      150             140                50            40            160                 46,000
       Cadmium                            0.47 J               0.33 J              1.8                 0.37 J                   0.67             0.69             0.39 J       0.075 J         0.93                    210
       Chromium                             33                 180                  39                   19                       28               27               14            92             23                350,000
       Lead                                130                 160                  93                  170                      190             180              120             22            160                    400
       Mercury                            0.16                0.077 J             0.21                 0.19                     0.12 J           0.12             0.15          0.11 J         0.42                     70
       5elenium                              2J                   2J               2.8 J                1.6 J                     2.4 J             2J            0.73 J          2.7 J         1.9 J                1,200
       5ilver                            0.099 J               0.96 U             0.33 J               0.25 J                     1.2 U           1.1 U           0.19 J          1.1 U        0.22 J                1,200

m
Q)
       Notes:
       TEQ-Toxic Equivalency Quotient-The EPA Uses weighting factors to summarize all Polycyclic Aromatic Hydrocarbon (PAH)
o      which is then expressed as the toxicity of Benzo(a) Pyrene. This is a conservative expression of the total toxicity of all detected
::J"   ug/kg-micrograms per kilogram
 I

o;;0   mg/kg-milligrams per kilogram
       J-sample analysis is acceptable, sample is estimated
       U-Not Detected in sample
"T1
 I     RML- Removal Management Level. Values used by the EPA to determine where action may be necessary to
"'tJ   protect human health and/or the environment.
;;0
<I
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Co)
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Co)
~




                                                                                                                                                                                                                               DX 1224 - 006
                        UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                                        REGION 4
                                               ATLANTA FEDERAL CENTER
                                                  61 FORSYTH STREET
                                              ATLANT A, GEORGIA 30303·8960

                                                      ~AR 30 2016
  The Honorable Loxil B. Tuck, Mayor
  City of Tarrant
  1605 Pinson Valley Parkway
  P.O. Box 170220
  Tarrant, Alabama 35217

  Dear Mayor Tuck:

  [am responding to your letter dated February 29, 2016, regarding the U.S. Environmental Protection
  Agency s activities at the Pinson Valley eighborhood site (renamed the South Tan'ant eighborhood
  site). In this letter you again express your concerns regarding the EPA's Site Inspection (Sl) conducted
  pursuant to the Comprehensive Environmental Response, Compensation and Liability Act (CERCLA or
  Superfund).

    s you know, the EPA prepared a sampling plan to collect the needed data to complete the S1. A copy of
  that sampling plan was provided to you in ad ance of the field ampling effOlt. This sampling plan was
  prepared in accordance with aIL applicable EPA guidance and policies. In addition, the field work was
  conducted in accordance with the Region 4 Science and Ecosystem Support Division Field Branch's
  Quality System and Technical Procedures. All documents related to the S1 work plan and sampling are
  included in the S1 Sampling Plan that was provided to you in advance of the field work.

  The EPA has verified the data for samples collected on February 2 - 3, 2016 and I have enclosed a copy
  of those results. The EPA has also provided the e analytical results to the property owners. Once the SI
  report is complete, the EPA will forward a copy of the report to you. In addition, [ am happy to meet
  with you to discuss our findings and explain our next teps.

  If you have any additional questions, please contact me at (404) 562-8599.

                                                                       Sincerely,



                                                        ------ \~~~    ~
                                                                                                                1(jJJ
  Enclosur




                                            Internet Address (URL). http://www.epa.gov
                Rocycled/Recyclable • Prinled wnh Vegelable 0,1 Based Inks on Recycled Paper (Minimum 30"/0 Poslconsumer)




                                                                                                                Balch-ORF-PRIV-003435
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                                                                                                                            Balch-ORF-PRIV-003435


                                                                                                                                   DX 1224 - 007
    BENJAMIN S. GOLDMAN                   LOXCIL B. TUCK             LILLIAN A. KEITH
      CITY ATTORNEY                          MAYOR                     CITY CLERK


                                 CITY OF TARRANT
                                    1604 Pinson Valley Parkway
                                         P. O. Box 170220
       COUNCIL MEMBERS              Tarrant, Alabama 35217-0220    COUNCIL MEMBERS
    JOHN T. "TOMMY" BRYANT                   205/849-2800          DEBORAH M. MATTHEWS
       BETTY S. MIDDLEBROOKS              Fax 205/849-2805          CATHY ANDERSON

                                        LAURA HORTON
                                        MAYOR PRO TEM



      March 31,2016


      VIA EMAIL & U.S. MAIL
      Franklin E. Hill, Director
      Superfund Division
      U. S. Environmental Protection Agency
      Region 4
      Atlanta Federal Center
      61 Forsyth Street
      Atlanta, GA 30303-8960

            Re:    South Tarrant Neighborhood Site

      Dear Director Hill:

      Thank you for forwarding the verified sampling results from the collections on
      February 2-3, 2016. As I am sure you will understand, I was pleased to see that
      every single constituent analyzed in connection with each and every surface soil
      sample was below the established Removal Management Level.

      I look forward to receiving the SI report from you once it has been completed. In
      addition, I would also like to review the analytical results for the background
      samples as soon as those are available.

      Your letter of March 30, 2016, very kindly offers a meeting to discuss the EPA's
      findings and to explain your next steps. In light of the favorable sampling results,
      it is my hope that a further meeting will not be warranted. However, if it is EPA's
      intent to continue with further study, testing, or analysis of the South Tarrant
      neighborhood site, then we should meet as soon as possible. If that is indeed
      the case, I believe that meeting would be most fruitful once we have had an




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                                                                               Balch-ORF-PRIV-003436
                                                                                        DX 1224 - 008
      opportunity to review the results of the background samples as well, to ensure
      that the City has a complete picture of all the data EPA used in its determination
      that further investigation is necessary.

      If you have any questions concerning the foregoing, please do not hesitate to let
      me know. I very much appreciate your consideration of these matters.

      Sincerely,
      /f14~J:8~
      Loxcil B. Tuck, Mayor



      cc:   Dionne Delli-Gatti, EPA Government Affairs Specialist (Via Email)
            Gerald Hardy, Strada Professional Services, LLC (Via Email)
            Benjamin S. Goldman, City Attorney, City of Tarrant, Alabama (Via Email)




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                                                                             Balch-ORF-PRIV-003437
                                                                                     DX 1224 - 009
      Map Contents
                                                                                                       Balch & Bingham LLP
                                                                                                       Birmingham, Alabama
      c35th Ave. EPA Study          .Phase 1 Area                                           N   South Tarrant Neighborhood PAiSI
      -35th Ave.                      Phase 2 Area
      eRoblnwood Background Samples ClSouth Tarrant Neighborhood Site
                                     _EPA Background Neighborhoods
                                                                                            A         SAMPLING
                                                                                                  LOCATION SUMMARY
                                      March 2016
                                                                           GRAPHIC SCALE                                        FIGURE
       PRIVILEGED AND CONFIDENTIAL WORK PRODUCT
       PREPARED AT THE REQUEST OF LEGAL COUNSEL                0.5          o
                                                                        ----'
                                                                                      0.5       STRADA                       I SL-15
           FOR OR IN ANTICIPATlON OF LmGATlON
      AND IN CONNECTION WITH RENDERING LEGAL ADVICE             '---

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                                                                                                                      Balch-ORF-PRIV-003438
                                                                                                                                    DX 1224 - 010
       From:                Kirsten Bryant
       To:                  Heard Anne
       Cc:                  Haley Colson; Michael Hansen
       Subject:             Re: UAB Superfund Research Program Grant - NEIHS
       Date:                Friday, January 29, 2016 10:01:02 AM
       Attachments:         imageOO 1.png



       Thank you Ms. Heard for your response. EPA Region 4 will be pleased to learn the details of
       Dr. Antony's research and efforts to help address the ongoing issues facing the northern
       Birmingham communities.

       Let us know if you have any questions about our Gasp or our work with the Northern
       Birmingham Community Coalition.

       -Kirsten



       On Wed, Jan 27,2016 at 3:27 PM, Heard, Anne <Heard Anne@epa goy> wrote:

         Hello Ms. Bryant and Dr. Antony,


         Thank you for your messages. I appreciate your efforts to establish a Superfund Research Center
         in Birmingham, Alabama. My staff would be more than happy to meet with you. They will let you
         know when they plan to be in Birmingham again.


         Sincerely,


         V. Anne Heard: Deputy Regional Administrator, Region 4

         u.s. Environmental Protection Agency: 61 Forsyth Street, SW : Atlanta, GA 30303


         W     404-562-8357 ~ heard.anne@epa.gov                     g www.epa.gov

         NOTICE: This communication may contain privileged or other confidential information. If you are not the intended recipient,
         or believe that you have received this communication in error, please do not print, copy, retransmit, disseminate, or otherwise
         use the information. Also, please indicate to the sender that you have received this communication in error, and delete the
         copy you received.




         From: Kirsten Bryant [mailto:kirsten@gaspgroup org]
         Sent: Tuesday, January 19,20166:07 PM
         To: Heard, Anne <Heard Anne@epa goy>
         Cc: Veena B Antony <Yantony@uab edu>; Michael Hansen <michael@gaspgroup org>; Haley
         Colson <Haky@gaspgroup org>
         Subject: Fwd: DAB Superfund Research Program Grant - NEIHS




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                                                                                                                       Balch-ORF-PRIV-003439
                                                                                                                                   DX 1224 - 011
       I Hi Ms. Heard,
        My colleague, Michael Hansen, introduced you to our organization (Gasp) via email last
        week.


        I wanted to share the information below regarding the opportunity to establish a Superfund
         Research Center in Birmingham, Alabama. We encourage Region 4 to get involved and
         learn how this research will complement the work EPA is currently doing in the impacted
         communities of northern Birmingham.


        If you have any questions about this effort, please don't hesitate to contact me, my
         colleagues or Dr. Antony.


        Thank you for your time,


        Kirsten Bryant



        ---------- Forwarded message ----------
        From: Kirsten Bryant <kirsten@gaspgroup org>
        Date: Mon, Jan 11,2016 at 9:57 AM
        Subject: DAB Superfund Research Program Grant - NElliS
        To: "McTeerToney, Heather" <McTeertoney heather@epa goy>, "Jenkins brandi@epa goy"
         <Jenkins brandi@epa goy>, Cynthia Peurifoy <Peurifoy Cynthia@epa goy>, Denise
         Tennessee <Tennessee Denise@epa goy>, "Cc: Anita Davis" <Davis Anita@epa goy>,
         Bryant kyle @epa goy
        Cc: Veena B Antony <yantony@uab edu>, Chester Wallace
         <chesterwallace@bellsouth net>, Thurman Thomas <thomasthurman@bellsouth net>,
         Vernice Miller-Travis <ymiller-travis@skeo com>, Haley Colson
         <Haley@gaspgroup org>, Michael Hansen <michael@gaspgroup org>


        Hello everyone,


        I hope you all had an enjoyable holiday break and a good start to the new year.


        The purpose of this email is to introduce you all to Dr Veena Antony, (copied here) a
        pulmonologist in the Division of Pulmonary, Allergy & Critical Care Medicine within the
        School of Medicine at DAB.


        As you know, DAB is a driver of research that improves the health and contributes greatly to
        the well being of Birmingham area citizens. Dr. Antony is leading the effort to apply for the
        2016 National Institute of Environmental Health Sciences (NIEHS), Superfund Research




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                                                                                          Balch-ORF-PRIV-003440
                                                                                                 DX 1224 - 012
       I Program Grant.
        The research that DAB is proposing to do, through the establishment of a Superfund
        Research Center, will support the Birmingham community at large. The research will
        specifically help address challenges facing residents living in northern Birmingham
        communities.


        Dr. Antony has met with key leaders within the community who are in support of this effort
        and additional research that will benefit their community's health. Dr. Antony and DAB
        representatives will be collaborating closely with the community in all aspects of their
        research and education efforts.


        It is our hope that EPA Region 4 representatives will meet with Dr. Antony and support the
         establishment of a Superfund Research Center at DAB. The Center will complement and
         build on the significant and important work EPA is doing to improve the lives of
         Birmingham residents.


        Thank you all for your continued dedication and commitment to Birmingham.


        Sincerely,


        Kirsten




        Kirsten G. Bryant

        Outreach Director

        GASP

        732 Montgomery Hwy #405

        Birmingham, AL 35216

        205-54] -3746

        GASPgroup org

        GASp on Twitter

        GASP on Facebook




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                                                                                      Balch-ORF-PRIV-003441
                                                                                                DX 1224 - 013
        Kirsten G. Bryant

        Outreach Director

        GASP

        732 Montgomery Hwy #405

        Birmingham, AL 35216

        205-541-3746

        GASPgroup.org

        GASP on Twitter

        GASP on Facebook




       Kirsten G. Bryant
       Outreach Director
       GASP
       732 Montgomery Hwy #405
       Birmingham, AL 35216
       205-541-3746
       GASPgroup org
       GASP on Twitter
       GASP on Facebook




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                      Balch-ORF-PRIV-003443
                             DX 1224 - 015
  LMBMEDICINE
  PULMONARY, ALLERGY & CRITICAL CARE
       UAB SCHOOL OF MEDICINE




                                                      CLEAN AIR INITIATIVE
                                                             A Scientific and Educational Symposium



                                                            Friday, September 21, 2012
                                                            7:30 a.m.-8:00 a.m. Pick up conference materials & badges
                                                            8:00 a.m.-5:00 p.m. Opening remarks & lecture sessions



                                                            UAB National Alumni Society House
                                                            University of Alabama at Birmingham
                                                                                                                    APPROVED FOR:
                                                            1301 10th Avenue South
                                                                                                                    6AMA PRA CATEGORY
                                                            Birmingham, Alabama 35294                               1 CME CREDIT(SjTM



                                                      For many decades, Birmingham and surrounding re-              SEATING LIMITED TO
                                                    gions were plagued with poor air quality. The post-WWII
                                                                                                                    200 REGISTRANTS

                                                    industrial boom brought a thriving economy to Birming-
                                                    ham and with it, air pollution that was ranked among the
                                                                                                                    NO REGISTRATION AT
                                                    worst in the nation.
                                                                                                                    THE DOOR
                                                      In the 1970s and 1990s. industries were mandated un-
                                                    der the federal Clean Air Acts to install pollution abate-
                                                    ment devices and alter manufacturing processes to reduce
                                                                                                                    REGISTRATION
                                                    industrial pollutants. These efforts ultimately produced        CLOSES WEDNESDAY,
                                                    significant changes in the region's visible air quality, but    SEPTEMBER 19,2012
                                                    significant health hazards for area citizens still remain
                                                    from high levels of particulate matter and other pollut-
                                                    ants.
                                                      The symposium's focus is educational: to bring together DAB research, health care, and en-
  UAB is pleased to host this educational
                                                    gineering to educate the community and healthcare providers on the health effects of air pollu-
  symposium based on its commitment to
                                                    tion; to describe current treatment programs at DAB; and to develop a dialogue with industry
  research, healthcare and technology. UAB does
                                                    and community clean air advocates to find newer technologies to mitigate air quality problems.
  not support any political views related to this
  initiative.


                                                    For more information and to register, go online to
 This event is sponsored by the UAB                 www,uab.edu/medicine/BirminghamCleanAir/
 School of Medicine, Division of Continuing
                                                    Or contact Janice L Bernauer in Dr Veena Antony's office at
 Medical Education.
                                                    205.934.5059 or email JLBERNAU@uab.edu




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                                                                                                                       Balch-ORF-PRIV-003444
                                                                                                                                     DX 1224 - 016
  SPEAKERS AND
  PANEL MEMBERS

  Veena B. Antony, M.D.-Professor of
  Medicine; Director, Environmental &
  Translational Medicine Program; UAB
  Division of Pulmonary, Allergy & Critical Care


  William C. Bailey, M.D.-Professor of
  Medicine, Former Medical Director-Lung
  Health Center, UAB Division of Pulmonary,
  Allergy & Critical Care

  Beverly H. Banister, BCHE-Director,
  EPA Division of Air, Pesticides and Toxics
  Management, Region IV, Atlanta, Georgia

  Kirsten Bryant-Representative,
  Greater Birmingham Alliance to Stop Air
  Pollution (GASP)

  Michelle Fanucchi, Ph.D.-Associate
  Professor and Interim Chair, UAB Department
  of Environmental Health Sciences, School of
  Public Health

  Robert P. Kimberly, M.D.-Senior Associate
  Dean for Research, UAB School of Medicine,
  University of Alabama at Birmingham

  Elizabeth Maples, Ph.D.-Assistant
  Professor, UAB Department of Environmental
  Health Sciences, School of Public Health

  William J. Martin, M.D.-Associate Director
  for Disease Prevention and Health Promotion,
  Eunice Shriver National Institute of Child
  Health and Human Development, National
  Institutes of Health

  Edward M. Postlethwait, Ph.D.-UAB
  Department of Environmental Health
  Sciences, School of Public Health


  Roderick Royal-Council President, City of
  Birmingham, Birmingham, Alabama

  Bharat Soni, Ph.D.-Professor and Chair,
  UAB Department of Mechanical Engineering,
  School of Engineering

  Victor J. Thannickal, M.D.-Director, UAB
  Division of Pulmonary, Allergy and Critical
  Care

  Mark E. Wilson, M.D.-Health Officer,
  Jefferson County Department of Health,
  Birmingham, Alabama




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                                                                                                                   LMBMEDICINE
                                                                                                                   PULMUNARY, ALLERGY & CRITICAL CARE
                                                                                                                         UAB SCHOOL OF MEDiCiNE




                                                                                                                                F R E E
  Program Overview
    With the creation ofUAB's new Environmental and Transla-                                          CONFERENCE
  tional Medicine (ETM) Program comes a multidisciplinary effort
  to understand air pollution problems that have long plagued this state.
                                                                                                     REGISTRATION
  UAB has a slrong commitment to improving the health of the people                             No registration at the door

  of Alabama and will use a multifaceted approach through its medi-
  cal research and engineering talent to deal with health issues tied to
                                                                              REGISTER ONLINE AT:
  environmental origins. The new Environmental and Translational
  Medicine Program and this symposium are part of that effort. Some
                                                                              www.uab.edu/medicine/BirminghamCleanAir/
  environmental issues me man-made, and some me natural, including            If you do not have internet access or have problems
  environmental organisms. Through this educational symposium, you            accessing our Web site, call Janice Bernauer at
  will learn how we propose to study, educate and better understand the       205.934.5059 and provide the following information:
  effects of pollution on human health from any environmental expo-
  sure.
                                                                              Name                                                              _
    The ETM Progrffi"l1 has three components: to provide clinical care
                                                                              E-mail address                                                        _
  for patients with disease tied to environmental exposure; to educate
  the public on the health effects of such exposure; and to conduct re-       Daytime phone                                                    _
  search that will work to hetter assess the risks of exposure hy identify-   Degree                                                                _
  ing pollution sources, and then search for ways to mitigate or reduce
                                                                              Specialty                                                        _
  exposures.
    One of the first projects of the ETM Progrffi"l1 is the Clean Air         Business name or institution                                      _
  Initiative, a multidisciplinary effort to understand air pollution prob-    Business/institution or home address
  lems. It involves the UAB schools of Medicine, Public Health, and
  Engineering in partnership with the Jefferson County Department of
                                                                              City                              State _ _ZI P                       _
  Health, the Alabffi"l1a chapter of the American Lung Association, and
  GASP (Greater Birminghffi"l1 Alliance to Stop Air Pollution).               Will you stay for lunch?          Yes        No

                                                                              Do you need a: __Vegan meal? __Vegetarian meal?


  Who Should Attend
    Physicians from all medical disciplines, fellows, residents, medical      Please describe your interests. (Check all that apply)

  students, healthcare workers, the general public, community leaders,                  I live in the Birmingham area and have an interest in
  and groups and/or individuals concerned with clean air issues and                     clean air.
  how air pollution affects health. Only those who have pre-registered                  I live in an area with air pollution problems.
  online or by phone may attend. Seating is limited to first 200                        I am a member of an environmental advocacy group.
  registrants.                                                                          I am a member of the Birmingham business
                                                                                        community and have an interest in air quality.


  Course Format                                                               Would you like to receive information via email about UAB's

    There will be a series of 30-minute PowerPoint lectures with ques-        Environmental and Translational Medicine Program/Clean Air
                                                                              Initiative, and the Environmental and Occupational Medicine
  tion-and-answer sessions following each presentation. Speakers me
                                                                              Clinic?         Yes       No
  asked to use language that will be understood by all attendees. Lunch
  is provided for registered attendees only.

                                                                                        REGISTRATION IS LIMITED TO 200

                                                                              REGISTRATION CLOSES SEPTEMBER 19, 2012




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  LMBMEDICINE                                                                                                                 Non-Profit Org.
                                                                                                                               US Postilge
  PULMONARY, ALLERGY & CRITICAL CARE                                                                                             PAID
       UAB SCHOOL OF MEDICINE
                                                                                                                             Permit No. 1256
                                                                                                                             Birmingham, AL

  CLEAN AIR SYMPOSIUM
  THT 422 • 1900 UNIVERSITY BLVD
  17202NOAVES
  BIRMINGHAM AL 35294-0006




    ACCREDITATION STATEMENT
    The University of Alabama School of Medicine is accredited
    by the Accreditation Council for Continuing Medical Education
    (ACCME) to provide continuing medical education for physicians.


    The University of Alabama School of Medicine designates           LEARNING OBJECTIVES
    this live activity for a maximum of 6 AMA PRA Category 1
                                                                      At the end of this scientific and educational symposium,
    credit(s)TM Physicians should claim only the credit commensu-
                                                                      participants should be able to:
    rate with the extent of their participation in the activity
                                                                      1 Understand the science behind the effects of air pollution on
                                                                        the lung and its role as a direct or indirect cause of specific
                                                                        lung or systemic diseases such as COPO, asthma, cognitive
    EEOC STATEMENT
                                                                        impairment, and cancer.
    UAB is an Equal Opportunity/Affirmative Action Employer           2. Have increased knowledge and awareness about the latest
    committed to fostering a diverse, equitable and family-oriented     advances in translational and environmental research at UAB
    environment in which all faculty and staff can excel and            that relate to air pollution.
    achieve work/life balance irrespective of ethnicity, gender,      3. Understand the role of various organizations, both local and
    faith, gender identity and expression, as well as sexual            national, that support clean air initiatives, and their advocacy
    orientation. UAB also encourages applications from individuals      roles and commitment to achieving the common goal of
    with disabilities and veterans.                                     decreasing air pollution.




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                                             February 26, 2016




      The Honorable Gina McCarthy                          Ms. Heather McTeer Toney
      Administrator                                        Regional Administrator, Region 4
      Environmental Protection Agency                      Environmental Protection Agency
      1200 Pennsylvania Avenue NW                          Atlanta Federal Center
      Washington, DC 20460                                 61 Forsyth Avenue, SW
                                                           Atlanta, GA 30303

      Dear Madam Administrator and Ms. Toney:

             We write to express serious concern regarding the Environmental Protection
      Agency's (EPA) administration of the Comprehensive Environmental Response,
      Compensation, and Liability Act (CERCLA), otherwise known as Superfund. In
      particular, EPA's designation of "potentially responsible parties" (PRPs) through an
      "air deposition" theory of liability appears to rest on questionable legal authority and
      may set a troubling precedent for all facilities in the United States which generate air
      emissions subject to the Clean Air Act and other relevant statutes.

             As you are aware, on September 22, 2014, EPA proposed placing the 35th
      Avenue site in North Birmingham on the National Priorities List. According to the
      EPA Hazard Ranking System record that accompanied the proposal, "[a]ir is the
      prim.dry source of deposition within the 35th Avenue site ... from smokestacks and
      windblown particles from process fines and other stockpiled material." In conjunction
      with this air deposition theory, the agency has designated several facilities as PRPs and
      has informed the facilities that they may be forced to undertake cleanup actions or incur
      financial liability for costs associated with any cleanup of the site.

              We are mindful of EPA's repeated attempts to increase the scope of federal
      regulatory authority, and we fear the application of the air deposition theory to
      supposed "arrangers" under CERCLA represents a significant expansion of the
      agency's Superfund enforcement powers. Arranger liability attaches to any person who
      disposes of hazardous substances,l with" disposal" defined as the" discharge, deposit,
      injection, dumping, spilling, leaking, or placing of any solid waste or hazardous waste
      into or on any land or water so that such solid waste or hazardous waste or any


      1   42 U.s.c. § 9607(a)(3).




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                                                                                     Balch-ORF-PRIV-003448
                                                                                              DX 1224 - 020
         Page 2
         February 26, 2016

         constituent thereof may enter the environment or be emitted into the air or discharge into
         any waters."2

                A plain reading of this definition demonstrates that, to the extent air emissions
         may be a factor in determining arranger liability, such emissions must result directly
         from the discharge of solid or hazardous waste directly into or onto any land or water.
         In other words, industrial air emissions from lawful sources are to be regulated under
         the Clean Air Act, not CERCLA. However, EPA seems intent on pressing the air
         deposition theory in North Birmingham, while having also endorsed the theory in an
         amicus curiae brief filed recently in the Ninth Circuit Court of Appeals. EPA's legal
         positions raise serious questions regarding the agency's understanding of its statutory
         authority.

              Similar reservations are expressed in the enclosed resolution, adopted jointly by
     the Alabama House of Representatives and Alabama Senate and approved by the
     Governor of Alabama on June 9, 2015. The resolution describes the 35th Avenue site
     proposal and provides that EPA is "attempting to impose a novel and overbroad 'air
     deposition' theory of Superfund liability which would allow EPA to pursue industrial
     facilities for contamination at non-contiguous properties on the basis of air emissions
     which are subject to the federal Clean Air Act and authorized by a valid air operating
     permit." The resolution notes further that EPA's "broad air deposition theory would
     allow EPA to order businesses to clean up hazardous contamination within an
     indefinite area before proving that the business was actually responsible." Thus, we are
     especially concerned with the due process implications associated with this charge.

             The resolution also suggests that EPA is pursuing the air deposition theory" as
     an illicit means for funding policy initiatives which are outside its regulatory
     authority." Indeed, the 35th Avenue site proposal appears to be part of an
     "environmental justice" initiative for EPA to become a de facto redevelopment authority
     in Birmingham. 3 Tellingly, the proposal follows a 2011 planning document in which
     EPA announced its intent to "go beyond traditional injunctive relief to stop illegal
     pollution . . . and, where appropriate and agreed to by defendants, to include
     Supplemental Environmental Projects ... that provide benefits to communities," as well
     as to "leverage benefits resulting from enforcement activities. "4

           Finally, the resolution describes prior objections to the 35th Avenue site proposal
     from the Alabama Attorney General and Alabama Department of Environmental
     Management (ADEM). For example, ADEM repeatedly informed EPA that it did not
     concur with the proposed listing, as the Attorney General explained in a letter provided

     2 Id. § 6903(3) (emphasis added).
     3 See Environmental Protection Agency, Region 4 Superfund, Annual Report, FY 2014 at 5.

     4 Environmental Protection Agency, Plan EJ 2014: Advancing Environmental Justice Through

     Compliance and Enforcement (Sept. 2011).




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      February 26, 2016
      to EPA on January 20, 2015. Under the 1997 "Fields Memorandum," ADEM's decision
      to withhold concurrence required EPA to work closely with the State of Alabama prior
      to formally proposing a site for the National Priorities List. Yet the Attorney General's
      comment letter indicates that EPA neglected to follow the procedure outlined in the
      Fields Memorandum, suggesting agency disregard for state coordination and input
      during the site proposal process.

             EPA's air deposition theory and corresponding proposal to place the 35th
      Avenue site on the National Priorities List raise important legal and scientific questions
      and present substantial risk for businesses that may have little to no responsibility for
      site contamination. For these reasons, the state Legislature, Governor, and Attorney
      General for Alabama have each requested EPA to reconsider its position.

            We believe these requests are justified, and we urge EPA to give them careful
     attention.   Furthermore, so that we may confirm the agency's appropriate
     understanding of CERCLA and related legal authorities, we request your staff to
     schedule a meeting with our offices at the earliest opportunity to discuss the concerns
     raised above and in the enclosed resolution.

                                          Yours very truly,




       ~s-
                                                     ~~
                                                      Richard Shelby
     United States Senator                            United States Senator




                                               ry Palmer
                                           States Representative



     cc:    Sen. James M. Inhofe, Chairman, Committee on Environment and Public Works
            Sen. Thad Cochran, Chairman, Committee on Appropriations
            Sen. M. Michael Rounds, Chairman, Subcommittee on Superfund, Waste
                  Management, and Regulatory Oversight, Committee on Environment and
                  Public Works
            Sen. Lisa Murkowski, Chairman, Subcommittee on the Interior, Environment,
                   and Related Agencies, Committee on Appropriations




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                               UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                                              REGION 4
                                                      ATLANTA FEDERAL CENTER
                                                         61 FORSYTH STREET
                                                    ATLANTA, GEORGIA 30303·8960


                                                           MAR 2 9 2016
    The Honorable Richard Shelby
    United States Senate
    Washington, D.C. 20515

    Dear Senator Shelby:

    Thank you for your February 26,2016, letter to the U.S. Environmental Protection Agency's Administrator,
    Gina McCarthy, and myself regarding the 35th Avenue Superfund Site (Site) located in Binningham,
    Jefferson County, Alabama. We appreciate your attention to this issue, as well as that of the State of
    Alabama (State). Based on our reading ofyour letter, we understand you to be raising three concerns related
    to the EPA's proposed listing ofthe Site on the National Priorities Listing (NPL) pursuant to the
    Comprehensive Environmental Response, Compensation and Liability Act (CERCLA or Superfund): (l) the
    Agency's designation of Potentially Responsible Parties (PRPs) through an "air deposition" theory of
    liability; (2) the Agency's efforts related to environmental justice; and (3) the Agency's coordination with
    the State prior to and following proposal ofthe Site to the NPL.

    The EPA believes that it is critical that the State and all of the parties involved understand that the listing ofa
    site on the NPL and enforcement against PRPs under any type of liability theory are separate and distinct
    activities based on different authorities under Superfund. Superfund liability is not considered when
    evaluating a site for listing on the NPL, nor is liability established or apportioned based on the decision to
    propose or finalize a site on the NPL.

    With respect to your concerns about the EPA's enforcement approach and/or theories of liability against any
    PRP associated with the Site, unfortunately the EPA cannot engage in any level ofdiscussions with third
    parties, including members of Congress, as articulated in the Memorandum from Granta Y. Nakayama, dated
    March 8, 2006, and titled "Restrictions on Communicating with Outside Parties Regarding Enforcement
    Actions" https:l/www.epa.govlenforcementlrestrictjons-communjcating-outsjde-partjes-regarding-
    enforcement-actions. However, I am able to address the remaining concerns raised in your letter, as well as
    any additional questions you may have regarding the environmental conditions and the EPA response efforts
    to date at the Site.

    On September 22, 201 4, the EPA proposed to include the 35th Avenue Site on the NPL. The identification of
    sites for listing on the NPL is intended to guide the EPA in: a) detennining which sites warrant further
    investigation to assess the nature and extent ofthe human health and environmental risks associated with a
    site; b) identifying what CERCLA-financed remedial actions may be appropriate; c) notifying the public of
    sites the EPA believes warrant further investigation; and d) ~rving notice to PRPs that the EPA may initiate
    CERCLA-financed remedial action. As the D.C. Circuit Court of Appeals has held, the NPL serves primarily
    as an informational tool for use by the EPA in identifying, quickly and inexpensively, those sites that appear
    to present a significant risk to public health or the environment. See CTS Com. y. EPA, 759 F.3d 52, 56
    (D.C. Cir. 2014); Carns Chem. Co. v. EPA, 395 FJd 434, 441 (D.C. Cir. 2005); Wash. State Dep't of
    Transp.v.EPA,917F.2d 1309, 13IO(D.C.Cir. 1990).

    In order to detennine whether a site may be proposed or added to the NPL, the EPA uses the Hazard Ranking
    System (HRS). Sites that score greater than 28.50 based on the HRS are eligible for the NPL. The HRS score

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    scientifically reflects an assessment ofthe relative threat to human health and the environment posed by the
    release or threatened release of hazardous substances at a site. The 35th Avenue site's score at the time of
    proposal to the NPL was 50.00. Consistent with CERCLA, this score relied solely on the Site's soil exposure
    pathway, due to widespread soil contamination in the residential neighborhoods of Fairmont, Collegeville
    and Harriman Park. This was based on results of sampling events conducted in 2013 and 2014 in these
    neighborhoods that revealed elevated concentrations of lead, arsenic and Benzo (a) pyrene. Environmental
    justice concerns are not a part of a site's HRS score or used to qualify a site for NPL listing.

    In the HRS supporting materials the EPA identified several facilities as the possible sources of contamination
    detected in residential soil due to their proximity to the Area of Contamination (AOC), the type ofplant, the
    processes utilized at the plant, and the history ofreleases contributing to the commingled contamination of
    the AOC over the period of many years. Identification of potential sources ofcontamination is a typical part
    ofHRS supporting materials. This does not, however. establish liability. Liability is established at a site
    through a separate process using different CERCLA authorities. While the Agency's investigation is still
    underway, the presence of contaminants in the residential neighborhoods is potentially due to a number of
    routes, including use of solid waste as fill material, storm water runoff from facilities, continued migration of
    contaminants from frequent flooding in the area. and facility air emissions. These emissions occurred prior
    to, in absence ofor in exceedance of Clean Air Act permits.

    A public comment period on the proposed NPL listing was held from September 22, 2014 to January 22,
    201S. The EPA received numerous public comments both in support and in opposition to a final listing,
    including letters from the Alabama Department of Environmental Management (ADEM) and the Alabama
    Attorney General. In those letters, the State requested review ofthe EPA's decision through the dispute
    resolution process outlined in the July 25, 1991 OSWER memorandum titled, "Coordinating with the States
    on National Priorities List Decisions - Issue Resolution Process." Prior to making a final listing decision, the
    EPA must consider all comments received on a proposed NPL site and respond to significant comments in
    writing. After consideration ofall comments, ifthe Site still qualifies for listing on the NPL, the EPA will
    welcome informal deliberations with ADEM. Depending on the outcome ofthose deliberations, as
    appropriate, the EPA will follow the process outlined in the above "Issue Resolution Process" memorandum.
    The EPA is committed to consultations with the State prior to making any future decision, for example, to
    add the Site on the NPL through a final rule, to pursue additional c canup approaches, or to withdraw the
    proposal to list the Site.

    I believe that wc share the common goal to protect and improve the quality of life for Alabama residents. As
    such, the EPA welcomes any further discussions on the proposed listing ofthe 3S lh Avenue site on the NPL
    or any other issues related to the environmental conditions and ongoing EPA response efforts at the Site. 1
    have directed my staff to arrange for a meeting with your office at your earliest convenience. Ifyou have
    additional questions please contact Allison Wise at (404) 562-8327.

                                                            Sincerely,



                                                       ~f!!;.:~
                                                            Regional Administrator


    cc:    Mathy Stanislaus, OLEM


           Franklin Hill, Superfund Division




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